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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


                                                 )
 UNITED STATES OF AMERICA                        )
                                                 )
                    v.                           )        Criminal No. 17-201 (ABJ)
                                                 )
 PAUL J. MANAFORT, JR.,                          )
                                                 )
                         Defendant.              )
                                                 )

  JOINT MOTION FOR EXTENSION OF TIME TO FILE JOINT STATUS REPORT

       Defendant Paul J. Manafort, Jr. and the United States of America, by and through counsel,

jointly move this Court for an extension of the time to file a joint status report. At the hearing on

September 14, 2018, the Court ordered the parties to submit a joint status report on November 16,

2018. The parties have been meeting since the hearing date. The parties believe a brief extension

of the status report date, until November 26, 2018, will allow them to provide the Court with a

report that will be of greater assistance in the Court’s management of this matter.

        WHEREFORE, the parties request that the Court extend the time for filing the joint status

report to November 26, 2018.



Dated: November 15, 2018                              Respectfully submitted,

                                                       /s/
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